









NUMBER 13-01-593-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

_________________________________________________________________


STELLA YVONNE JOHNSON , Appellant,

       

v.


THE STATE OF TEXAS, Appellee.

__________________________________________________________________

On appeal from the 347th District Court 

of Nueces County, Texas.

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O P I N I O N


Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, STELLA YVONNE JOHNSON , perfected an appeal from a judgment entered by the 347th District Court of
Nueces County, Texas,  in cause number 94-CR-368-H .  Appellant has filed a motion to dismiss the appeal.  The motion
complies with Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 6th day of December, 2001 .


